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                                                                               U.S. DISTRICT COURT E.D.N.Y.
                             UNITED STATES DISTRICT COURT
                                                                                               2 6 2019   *
                            EASTERN DISTRICT OF NEW YORK

                                                                                  BROOKLYN OFFICE
                                                  Case No: l:19-cv-02432
   RUNS LIKE BUTTER INC. d/b/a
   BUTTERFLYMX,


                           Plaintiff,
                                                  [PROPOSED]ORDER TO SHOW
                                                  CAUSE FOR A PRELIMINARY
                                                  INJUNCTION AND TEMPRORARY
                                                  RESTRAINING ORDER
   MVI SYSTEMS LLC and SAMUEL
   TAUB,

                           Defendants.




                   Upon review of the Verified Complaint of Plaintiff Runs Like Butter, Inc.

 (Ub/a ButterflyMX® ("ButterflyMX" or "Plaintiff) sworn to on April 25, 2019; the

  Declaration of David Lin, Esq. dated April 26, 2019; the memorandum oflaw in support

  Plaintiffs' Application for a Temporary Restraining Order and Preliminary Injunction

 ("Application"); and upon all pleadings and papers previously filed herein, it is

                   ORDERED,that the Defendants MVI SYSTEMS LLC("MVI")and

  SAMUEL TAUB ("Taub")show cause before this Court, at Room                     ,United States

  Courthouse, at                          in Brooklyn, New York, on

  2019, at               o'clock in the         noon thereof, or as soon thereafter as counsel

  may be heard, why an order should not be issued pursuant to Rule 65 of the Federal Rules of

  Civil Procedure ordering the above-named Defendants, their officers, directors, employees,

  agents, subsidiaries, distributors and all persons in active concert or participation them

  having notice of this Order; and those with actual notice of this Order, during the pendency
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